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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 24-cv-61124

 GIANNI VERSACE, S.R.L.,
                Plaintiff,
 vs.
 THE INDIVIDUALS, BUSINESS ENTITIES,
 AND UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A,”
             Defendants.
 _________________________________________/

                COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

        Plaintiff, Gianni Versace, S.r.l., (“Plaintiff”), hereby sues Defendants, the Individuals,

 Business Entities, and Unincorporated Associations identified on Schedule “A” (collectively

 “Defendants”). Defendants are promoting, advertising, distributing, selling, and/or offering for

 sale goods bearing and/or using counterfeits and confusingly similar imitations of Versace’s

 trademarks within this district through various Internet based e-commerce stores operating under

 the seller names set forth on Schedule “A” (the “E-commerce Store Names”). In support of its

 claims, Versace alleges as follows:

                                 JURISDICTION AND VENUE

        1.      This is an action for damages and injunctive relief for federal trademark

 counterfeiting and infringement, false designation of origin, common law unfair competition, and

 common law trademark infringement pursuant to 15 U.S.C. §§ 1114, 1116 and 1125(a), The All

 Writs Act, 28 U.S.C. § 1651(a), and Florida’s common law. Accordingly, this Court has subject

 matter jurisdiction over this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338.

 This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Versace’s state law
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 claims because those claims are so related to the federal claims that they form part of the same

 case or controversy.

         2.      Defendants are subject to personal jurisdiction in this district because they direct

 business activities toward and conduct business with consumers throughout the United States,

 including within the State of Florida and this district through, at least, the Internet based e-

 commerce stores 1 accessible and doing business in Florida and operating under their E-commerce

 Store Names. Alternatively, based on their overall contacts with the United States, Defendants are

 subject to personal jurisdiction in this district pursuant to Federal Rule of Civil Procedure 4(k)(2)

 because (i) Defendants are not subject to jurisdiction in any state’s court of general jurisdiction;

 and (ii) exercising jurisdiction is consistent with the United States Constitution and laws.

         3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

 upon information and belief, non-residents in the United States and engaged in infringing activities

 and causing harm within this district by advertising, offering to sell, selling, and/or shipping

 infringing products into this district.

                                           THE PLAINTIFF

         4.      Capri Holdings Limited (“Capri”) is a publicly held company incorporated in the

 British Virgin Islands with its principal place of business located at 33 Kingsway, London, WC2B

 6TP, UK. Capri Holdings Limited is the parent company of Plaintiff Gianni Versace S.r.l.




 1
   Certain Defendants use their respective E-commerce Store Name in tandem with electronic
 communication via private messaging applications and/or services in order to complete its offer
 and sale of counterfeit versions of Versace’s branded products. Specifically, consumers are able
 to browse listings of Versace’s branded products online via the respective Defendant’s E-
 commerce Store Name, ultimately directing customers to send inquiries, exchange data, and
 complete purchases via electronic communication with the Defendant.


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        5.      Gianni Versace S.r.l. is an Italian Corporation with its principal place of business

 located at Via Manzoni Nr. 38, 20121, Milan, Italy.

        6.      Goods bearing the Versace’s registered trademarks set forth below are offered for

 sale and sold by Versace and/or its licensees through various channels of trade within the State of

 Florida, including this district, and throughout the United States. Defendants, through the sale and

 offer to sell counterfeit and infringing versions of Versace’s branded products, are directly and

 unfairly competing with Versace’s economic interests in the United States, including the State of

 Florida, and causing Versace irreparable harm and damage within this jurisdiction.

        7.      Like many other famous trademark owners, Versace suffers ongoing daily and

 sustained violations of its trademark rights at the hands of counterfeiters and infringers, such as

 Defendants herein, who wrongfully reproduce and counterfeit Versace’s trademarks for the twin

 purposes of (i) duping and confusing the consuming public and (ii) earning substantial profits

 across their e-commerce stores. The natural and intended byproduct of Defendants’ combined

 actions is the erosion and destruction of the goodwill associated with Versace’s name and

 associated trademarks and the destruction of the legitimate market sector in which they operate.

        8.      To combat the indivisible harm caused by the concurrent actions of Defendants and

 others engaging in similar conduct, each year Versace expends significant monetary resources in

 connection with trademark enforcement efforts, including legal fees and investigative fees. The

 exponential growth of counterfeiting over the Internet, including through online marketplace and

 social media platforms, has created an environment that requires companies, such as Versace, to

 expend significant resources across a wide spectrum of efforts in order to protect both consumers

 and themselves from confusion and the erosion of the goodwill embodied in Versace’s brand.




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                                       THE DEFENDANTS

        9.      Defendants are individuals, business entities of unknown makeup, or

 unincorporated associations each of whom, upon information and belief, either reside and/or

 operate in foreign jurisdictions, redistribute products from the same or similar sources in those

 locations, and/or ship their goods from the same or similar sources in those locations to consumers

 as well as shipping and fulfillment centers, warehouses, and/or storage facilities within the United

 States to redistribute their products from those locations. Defendants have the capacity to be sued

 pursuant to Federal Rule of Civil Procedure 17(b). Defendants target their business activities

 toward consumers throughout the United States, including within this district, through the

 simultaneous operation of, at least, their commercial Internet based e-commerce stores under the

 E-commerce Store Names.

        10.     Certain Defendants operate under their respective E-commerce Store Name in

 tandem with electronic communications via private messaging applications and/or services,

 thereby creating an interconnected ecosystem which functions as an online marketplace operation.

        11.     Defendants use aliases in conjunction with the operation of their businesses,

 including but not limited to those identified by Defendant Number on Schedule “A.”

        12.     Defendants are the past and/or present controlling forces behind the sale of products

 bearing and/or using counterfeits and infringements of Versace’s trademarks as described herein.

        13.     Defendants directly engage in unfair competition with Versace by advertising,

 offering for sale, and selling goods each bearing and/or using counterfeits and infringements of

 one or more of Versace’s trademarks to consumers within the United States and this district

 through Internet based e-commerce stores using, at least, the E-commerce Store Names, as well as

 additional e-commerce store or seller identification aliases not yet known to Versace. Defendants




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 have purposefully directed some portion of their unlawful activities towards consumers in the State

 of Florida through the advertisement, offer to sell, sale, and/or shipment of counterfeit and

 infringing branded versions of Versace’s goods into the State.

         14.    Defendants have registered, established, or purchased, and maintained their E-

 commerce Store Names. Defendants may have engaged in fraudulent conduct with respect to the

 registration or maintenance of the E-commerce Store Names by providing false and/or misleading

 information during the registration or maintenance process related to their respective E-commerce

 Store Names. Many Defendants have anonymously registered and/or maintained some of their E-

 commerce Store Names for the sole purpose of engaging in unlawful infringing and counterfeiting

 activities.

         15.    Defendants will likely continue to register or acquire new e-commerce store names,

 or other aliases, as well as related payment accounts, for the purpose of selling and offering for

 sale goods bearing and/or using counterfeit and confusingly similar imitations of one or more of

 Versace’s trademarks unless preliminarily and permanently enjoined.

         16.    Defendants’ E-commerce Store Names, associated payment accounts, and any

 other alias e-commerce store names, store identification numbers, and seller identification names

 used in connection with the sale of counterfeit and infringing goods bearing and/or using one or

 more of Versace’s trademarks, are essential components of Defendants’ online activities and are

 one of the means by which Defendants further their counterfeiting and infringement schemes and

 cause harm to Versace. Moreover, Defendants are using Versace’s famous name and/or trademarks

 to drive Internet consumer traffic to at least one of their e-commerce stores operating under the E-

 commerce Store Names, thereby increasing the value of the E-commerce Store Names and




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 decreasing the size and value of Versace’s legitimate marketplace and intellectual property rights

 at Versace’s expense.

                             COMMON FACTUAL ALLEGATIONS

        Versace’s Trademark Rights

        17.     Versace is the owner of all rights in and to the trademarks identified on Schedule

 “B” hereto, which are valid and registered on the Principal Register of the United States Patent

 and Trademark Office (collectively the “Versace Marks”). The Versace Marks are used in

 connection with the manufacture and distribution of high-quality goods in the categories identified

 in Schedule “B.” True and correct copies of the Certificates of Registration for the Versace Marks

 are attached hereto as Composite Exhibit “1.”

        18.     The Versace Marks have been used in interstate commerce to identify and

 distinguish high-quality goods for an extended period and serve as symbols of Versace’s quality,

 reputation, and goodwill.

        19.     The Versace Marks are well-known and famous and have been for many years.

 Versace expends substantial resources developing, advertising and otherwise promoting the

 Versace Marks. The Versace Marks qualify as famous marks as that term is used in 15 U.S.C.

 §1125(c)(1).

        20.     Versace extensively uses, advertises, and promotes the Versace Marks in the United

 States in connection with the sale of high-quality goods. As a result, the Versace Marks are among

 the most widely recognized trademarks in the United States, and the trademarks have achieved

 secondary meaning among consumers as identifiers of high-quality goods.

        21.     Versace has carefully monitored and policed the use of the Versace Marks and has

 never assigned or licensed the Versace Marks to any Defendant in this matter.




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        22.     Genuine goods bearing and/or using the Versace Marks are widely legitimately

 advertised and promoted by Versace, its authorized distributors, and unrelated third parties via the

 Internet. Visibility on the Internet, particularly via Internet search engines and social media

 platforms, is important to Versace’s overall marketing and consumer education efforts. Thus,

 Versace and its authorized distributors expend significant monetary and other resources on Internet

 marketing and consumer education regarding its products, including search engine optimization

 (“SEO”), search engine marketing (“SEM”), and social media strategies. Those strategies allow

 Versace, its related companies, and authorized distributors to educate consumers fairly and

 legitimately about the value associated with the Versace Marks and the goods sold thereunder.

 Defendants’ Infringing Activities

        23.     Defendants are each promoting, advertising, distributing, selling, and/or offering

 for sale goods in interstate commerce bearing and/or using counterfeit and confusingly similar

 imitations of one or more of the Versace Marks (the “Counterfeit Goods”) through at least the e-

 commerce stores operating under the E-commerce Store Names. Specifically, Defendants are each

 using the Versace Marks to initially attract online consumers and drive them to Defendants’ e-

 commerce stores operating under their E-commerce Store Names. Defendants are each using

 identical copies of one or more of the Versace Marks for different quality goods. Versace has used

 its Marks extensively and continuously before Defendants began offering counterfeit and

 confusingly similar imitations of Versace’s merchandise.

        24.     Defendants’ Counterfeit Goods are of a quality substantially different than that of

 Versace’s genuine goods. Defendants are actively using, promoting and otherwise advertising,

 distributing, selling, and/or offering for sale substantial quantities of their Counterfeit Goods with

 the knowledge and intent that such goods will be mistaken for the genuine high-quality goods




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 offered for sale by Versace despite Defendants’ knowledge that they are without authority to use

 Versace Marks. The net effect of Defendants’ actions is likely to cause confusion of consumers at

 the time of initial interest, sale, and in the post-sale setting, who will believe all of Defendants’

 goods offered for sale in or through Defendants’ e-commerce stores are genuine goods originating

 from, associated with, and/or approved by Versace.

        25.     Defendants advertise their e-commerce stores, including their Counterfeit Goods

 offered for sale, to the consuming public via e-commerce stores on, at least, the E-commerce Store

 Names. In so doing, Defendants improperly and unlawfully use one or more of Versace Marks

 without Versace’s permission.

        26.     Defendants are concurrently employing and benefiting from substantially similar

 advertising and marketing strategies based, in large measure, upon an unauthorized use of

 counterfeits and infringements of Versace Marks. Specifically, Defendants are using counterfeits

 and infringements of one or more of Versace’s famous name and Versace Marks to make their e-

 commerce stores selling unauthorized goods appear more relevant and attractive to consumers

 searching for both Versace and non-Versace’s goods and information online. By their actions,

 Defendants are contributing to the creation and maintenance of an unlawful marketplace operating

 in parallel to the legitimate marketplace for Versace’s genuine goods. Defendants are causing

 individual, concurrent, and indivisible harm to Versace and the consuming public by (i) depriving

 Versace and other third parties of their right to fairly compete for space online and within search

 engine results and reducing the visibility of Versace’s genuine goods on the World Wide Web, (ii)

 causing an overall degradation of the value of the goodwill associated with Versace Marks by

 viewing inferior products in either the pre or post sale setting, and/or (iii) increasing Versace’s

 overall cost to market their goods and educate consumers about their brands via the Internet.




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        27.     Defendants are concurrently conducting and targeting their counterfeiting and

 infringing activities toward consumers and likely causing unified harm within this district and

 elsewhere throughout the United States. As a result, Defendants are defrauding Versace and the

 consuming public for Defendants’ own benefit.

        28.     At all times relevant hereto, Defendants in this action had full knowledge of

 Versace’s ownership of Versace Marks, including their respective, exclusive rights to use and

 license such intellectual property and the goodwill associated therewith.

        29.     Defendants’ use of Versace Marks, including the promotion and advertisement,

 reproduction, distribution, sale, and offering for sale of their Counterfeit Goods, is without

 Versace’s consent or authorization.

        30.     Defendants are engaging in the above-described unlawful counterfeiting and

 infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

 Versace’s rights for the purpose of trading on Versace’s goodwill and reputation. If Defendants’

 intentional counterfeiting and infringing activities are not preliminarily and permanently enjoined

 by this Court, Versace and the consuming public will continue to be harmed.

        31.     Defendants’ above identified infringing activities are likely to cause confusion,

 deception, and mistake in the minds of consumers before, during, and after the time of purchase.

 Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

 customers, the public, and the trade into believing there is a connection or association between

 Versace’s genuine goods and Defendants’ Counterfeit Goods, which there is not.

        32.     Given the visibility of Defendants’ various e-commerce stores and the similarity of

 their concurrent actions, it is clear Defendants are either affiliated, or at a minimum, cannot help




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  but know of each other’s existence and the unified harm likely to be caused to Versace and the

  overall consumer market in which they operate because of Defendants’ concurrent actions.

         33.     Although some Defendants may be physically acting independently, they may

  properly be deemed to be acting in concert because the combined force of their actions serves to

  multiply the harm caused to Versace.

         34.     Defendants’ payment and financial accounts, including but not limited to those

  specifically set forth on Schedule “A,” are being used by Defendants to accept, receive, and deposit

  profits from Defendants’ trademark counterfeiting and infringing and unfairly competitive

  activities connected to their E-commerce Store Names and any other alias e-commerce store names

  being used and/or controlled by them.

         35.     Further, Defendants, upon information and belief, are likely to transfer or secret

  their assets to avoid payment of any monetary judgment awarded to Versace.

         36.     Versace has no adequate remedy at law.

         37.     Versace is suffering irreparable injury and has suffered substantial damages

  because of Defendants’ unauthorized and wrongful use of the Versace Marks. If Defendants’

  intentional counterfeiting and infringing, and unfairly competitive activities are not preliminarily

  and permanently enjoined by this Court, Versace and the consuming public will continue to be

  harmed while Defendants wrongfully earn a substantial profit.

         38.     The harm and damages sustained by Versace have been directly and proximately

  caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

  sale of their Counterfeit Goods.




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          COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
            PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

         39.       Versace hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 38 above.

         40.       This is an action for trademark counterfeiting and infringement against Defendants

  based on their use of counterfeit and confusingly similar imitations of Versace Marks in commerce

  in connection with the promotion, advertisement, distribution, offering for sale, and sale of the

  Counterfeit Goods.

         41.       Specifically, Defendants are promoting and otherwise advertising, selling, offering

  for sale, and distributing goods bearing and/or using counterfeits and/or infringements of one or

  more of Versace Marks. Defendants are continuously infringing and inducing others to infringe

  Versace Marks by using one or more of them to advertise, promote, offer to sell, and/or sell

  counterfeit and infringing goods bearing and/or using Versace Marks.

         42.       Defendants’ concurrent counterfeiting and infringing activities are likely to cause

  and are causing confusion, mistake, and deception among members of the trade and the general

  consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

         43.       Defendants’ unlawful actions have caused and are continuing to cause

  unquantifiable damages and irreparable harm to Versace and are unjustly enriching Defendants

  with profits at Versace’s expense.

         44.       Defendants’ above-described unlawful actions constitute counterfeiting and

  infringement of Versace Marks in violation of Versace’s rights under § 32 of the Lanham Act, 15

  U.S.C. § 1114.




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         45.     Versace has suffered and will continue to suffer irreparable injury and damages

  while Defendants are earning a substantial profit due to Defendants’ above-described activities if

  Defendants are not preliminarily and permanently enjoined.

                  COUNT II - FALSE DESIGNATION OF ORIGIN
            PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

         46.     Versace hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 38 above.

         47.     Defendants’ Counterfeit Goods bearing, using, offered for sale, and sold using

  copies of one or more of Versace Marks have been widely advertised and offered for sale

  throughout the United States via the Internet under the E-commerce Store Names.

         48.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

  at least one or more of Versace Marks are virtually identical in appearance to Versace’s genuine

  goods. However, Defendants’ Counterfeit Goods are different in quality. Accordingly,

  Defendants’ activities are likely to cause confusion in the trade and among consumers as to at least

  the origin or sponsorship of their Counterfeit Goods.

         49.     Defendants have used in connection with their advertisement, offers for sale, and

  sale of their Counterfeit Goods, false designations of origin and false descriptions and

  representations, including words or other symbols and designs, which falsely describe or represent

  such goods and have caused such goods to enter commerce in the United States with full

  knowledge of the falsity of such designations of origin and such descriptions and representations,

  all to Versace’s detriment.

         50.     Defendants have each authorized infringing uses of one or more of Versace Marks

  in Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.




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  Some Defendants have also misrepresented to members of the consuming public that the

  Counterfeit Goods they advertise and sell are genuine, non-infringing goods.

            51.   Additionally, Defendants are simultaneously using counterfeits and infringements

  of one or more of Versace Marks to unfairly compete with Versace and others for space within

  organic and paid search engine and social media results. Defendants are thereby jointly (i)

  depriving Versace of valuable marketing and educational space online which would otherwise be

  available to Versace and (ii) reducing the visibility of Versace’s genuine goods on the World Wide

  Web and across social media platforms.

            52.   Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).

            53.   Versace has no adequate remedy at law and has sustained both individual and

  indivisible injury and damages caused by Defendants’ concurrent conduct. Absent an entry of an

  injunction by this Court, Versace will continue to suffer irreparable injury to its goodwill and

  business reputation, as well as monetary damages, while Defendants are earning a substantial

  profit.

                       COUNT III - COMMON LAW UNFAIR COMPETITION

            54.   Versace hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 38 above.

            55.   This is an action against Defendants based on their promotion, advertisement,

  distribution, sale, and/or offering for sale of goods bearing and/or using marks that are virtually

  identical to one or more of Versace Marks in violation of Florida’s common law of unfair

  competition.




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           56.    Specifically, Defendants are promoting and otherwise advertising, selling, offering

  for sale, and distributing goods bearing and/or using counterfeits and infringements of one or more

  of Versace Marks. Defendants are also each using counterfeits and infringements of one or more

  of Versace Marks to unfairly compete with Versace and others for (i) space in search engine and

  social media results across an array of search terms and (ii) visibility on the World Wide Web.

           57.    Defendants’ infringing activities are likely to cause and are causing confusion,

  mistake, and deception among consumers as to the origin and quality of Defendants’ e-commerce

  stores as a whole and all products sold therein by their use of Versace Marks.

           58.    Versace has no adequate remedy at law and is suffering irreparable injury and

  damages because of Defendants’ actions, while Defendants are unjustly profiting from those

  actions.

                 COUNT IV - COMMON LAW TRADEMARK INFRINGEMENT

           59.    Versace hereby adopts and re-alleges the allegations set forth in Paragraphs 1

  through 38 above.

           60.    This is an action for common law trademark infringement against Defendants based

  on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods bearing

  and/or using one or more of Versace Marks.

           61.    Versace is the owner of all common law rights in and to Versace Marks.

           62.    Specifically, each Defendant is promoting and otherwise advertising, distributing,

  offering for sale, and selling goods bearing and/or using infringements of one or more of Versace

  Marks.




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         63.     Defendants’ infringing activities are likely to cause and are causing confusion,

  mistake, and deception among consumers as to the origin and quality of Defendants’ Counterfeit

  Goods bearing and/or using Versace Marks.

         64.     Versace has no adequate remedy at law and is suffering damages and irreparable

  injury because of Defendants’ actions, while Defendants are unjustly profiting from those actions.

                                      PRAYER FOR RELIEF

         65.     WHEREFORE, Versace demands judgment on all Counts of this Complaint and an

  award of equitable relief and monetary relief against Defendants as follows:

                 a.     Entry of temporary, preliminary, and permanent injunctions pursuant to 15

  U.S.C. § 1116, 28 U.S.C. § 1651(a), The All Writs Act, and Federal Rule of Civil Procedure 65

  enjoining Defendants, their agents, representatives, servants, employees, and all those acting in

  concert or participation therewith, from manufacturing or causing to be manufactured, importing,

  advertising or promoting, distributing, selling or offering to sell their Counterfeit Goods; from

  infringing, counterfeiting, or diluting Versace Marks; from using Versace Marks, or any mark or

  design similar thereto, in connection with the sale of any unauthorized goods; from using any logo,

  trade name or trademark or design that may be calculated to falsely advertise the services or goods

  of Defendants as being sponsored by, authorized by, endorsed by, or in any way associated with

  Versace; from falsely representing themselves as being connected with Versace, through

  sponsorship or association, or engaging in any act that is likely to falsely cause members of the

  trade and/or of the purchasing public to believe any goods or services of Defendants are in any

  way endorsed by, approved by, and/or associated with Versace; from using any reproduction,

  counterfeit, infringement, copy, or colorable imitation of Versace Marks in connection with the

  publicity, promotion, sale, or advertising of any goods sold by Defendants; from affixing,




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  applying, annexing or using in connection with the sale of any goods, a false description or

  representation, including words or other symbols tending to falsely describe or represent

  Defendants’ goods as being those of Versace, or in any way endorsed by Versace and from offering

  such goods in commerce; from engaging in search engine optimization strategies using colorable

  imitations of Versace’s name or trademarks; and from otherwise unfairly competing with Versace.

                 b.      Entry of a temporary restraining order, as well as preliminary and

  permanent injunctions pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s inherent

  authority, enjoining Defendants and all third parties with actual notice of an injunction issued by

  the Court from participating in, including providing financial services, technical services or other

  support to, Defendants in connection with the sale and distribution of non-genuine goods bearing

  and/or using counterfeits and/or infringements of Versace Marks.

                 c.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority that, upon Versace’s request, those acting in concert or participation

  as service providers to Defendants, who have notice of the injunction, cease hosting, facilitating

  access to, or providing any supporting service to any and all e-commerce stores, including but not

  limited to the E-commerce Store Names through which Defendants engage in the promotion,

  offering for sale and/or sale of goods using counterfeits and/or infringements of Versace Marks.

                 d.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority authorizing Versace to serve the injunction on the e-commerce

  store’s registrar(s) and/or the privacy protection service(s) for the E-commerce Store Names to

  disclose to Versace the true identities and contact information for the registrants of the E-

  commerce Store Names.




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                 e.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  this Court’s inherent authority that, upon Versace’s request, any Internet marketplace website

  operators, administrators, registrar and/or top level domain (TLD) Registry for the E-commerce

  Store Names who are provided with notice of an injunction issued by the Court identify any e-mail

  address known to be associated with Defendants’ respective E-commerce Store Name.

                 f.      Entry of an Order pursuant to 28 U.S.C. §1651(a), The All Writs Act, and

  the Court’s inherent authority, authorizing Versace to serve the injunction on any e-mail service

  provider with a request that the service provider permanently suspend the e-mail addresses that are

  or have been used by Defendants in connection with Defendants’ promotion, offering for sale,

  and/or sale of goods using and/or bearing counterfeits and/or infringements of Versace Marks.

                 g.      Entry of an Order pursuant to 15 U.S.C. § 1116, 28 U.S.C. §1651(a), The

  All Writs Act, and the Court’s inherent authority, that upon Versace’s request, Defendants and the

  top level domain (TLD) Registry for the E-commerce Store Names, and any other e-commerce

  stores used by Defendants, or their administrators, including backend registry operators or

  administrators, place the E-commerce Store Names on Registry Hold status for the remainder of

  the registration period for any such name, thus removing them from the TLD zone files which link

  the E-commerce Store Names, and any other e-commerce store names being used and/or controlled

  by Defendants to engage in the business of marketing, offering to sell, and/or selling goods bearing

  counterfeits and infringements of Versace Marks, to the IP addresses where the associated e-

  commerce stores are hosted.

                 h.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and

  the Court’s inherent authority, canceling for the life of the current registration or, at Versace’s

  election, transferring the E-commerce Store Names and any other e-commerce store names used




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  by Defendants to engage in their counterfeiting of Versace Marks at issue to Versace’s control so

  they may no longer be used for unlawful purposes.

                 i.        Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and

  the Court’s inherent authority authorizing Versace to request any Internet search engines or service

  provider referring or linking users to any URL of the E-commerce Store Names, which are

  provided with notice of the order, to permanently disable, de-index or delist all URLs of the E-

  commerce Store Names and/or permanently disable the references or links to all URLs of the E-

  commerce Store Names used by Defendants to promote, offer for sale and/or sell goods bearing

  counterfeits and/or infringements of the Versace Marks, based upon Defendants’ unlawful

  activities being conducted via the E-commerce Store Names as a whole and via any specific URLs

  identified by Versace.

                 j.        Entry of an Order pursuant to 15 U.S.C. § 1116 and the Court’s inherent

  authority, requiring Defendants, their agent(s) or assign(s), to assign all rights, title, and interest,

  to their E-commerce Store Name(s) and any other e-commerce store names used by Defendants to

  Versace and, if within five (5) days of entry of such order Defendants fail to make such an

  assignment, the Court order the act to be done by another person appointed by the Court at

  Defendants’ expense, such as the Clerk of Court, pursuant to Federal Rule of Civil Procedure

  70(a).

                 k.        Entry of an Order pursuant to 15 U.S.C. § 1116 and the Court’s inherent

  authority, requiring Defendants, their agent(s) or assign(s), to instruct in writing, all search engines

  to permanently delist or deindex the E-commerce Store Name(s) and any other e-commerce store

  names used by Defendants and, if within five (5) days of entry of such order Defendants fail to

  make such a written instruction, the Court order the act to be done by another person appointed by




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  the Court at Defendants’ expense, such as the Clerk of Court, pursuant to Federal Rule of Civil

  Procedure 70(a).

                l.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  this Court’s inherent authority that, upon Versace’s request, any Internet marketplace website

  operators and/or administrators who are provided with notice of an injunction issued by the Court

  permanently remove from the multiple platforms, which include, inter alia, a Direct platform,

  Group platform, Seller Product Management platform, Vendor Product Management platform, and

  Brand Registry platform, any and all listings and associated images of goods bearing and/or using

  counterfeits and/or infringements of Versace Marks via the e-commerce stores operating under the

  E-commerce Store Names, and upon Versace’s request, any other listings and images of goods

  bearing and/or using counterfeits and/or infringements of Versace Marks associated with or linked

  to the same sellers or linked to any other alias seller identification names being used and/or

  controlled by Defendants to promote, offer for sale and/or sell goods bearing and/or using

  counterfeits and/or infringements of Versace Marks.

                m.      Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs Act,

  Federal Rule of Civil Procedure 65, and this Court’s inherent authority that upon Versace’s

  request, Defendants and any Internet marketplace website operators and/or administrators who are

  provided with notice of an injunction issued by this Court immediately cease fulfillment of and

  sequester all goods of each Defendant bearing one or more of Versace Marks in its inventory,

  possession, custody, or control, and surrender those goods to Versace.

                n.      Entry of an order requiring, upon Versace’s request, Defendants to request

  in writing permanent termination of any messaging services, e-commerce store names, usernames,




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  and social media accounts they own, operate, or control on any messaging service, e-commerce

  marketplace, and social media website.

                 o.      Entry of an Order requiring Defendants to account to and pay Versace for

  all profits and damages resulting earned resulting from Defendants’ trademark counterfeiting and

  infringing and unfairly competitive activities and that the award to Versace be trebled, as provided

  for under 15 U.S.C. § 1117, or that Versace be awarded statutory damages from each Defendant

  in the amount of two million dollars ($2,000,000.00) per each counterfeit trademark used and

  product type offered for sale or sold, as provided by 15 U.S.C. §1117(c)(2) of the Lanham Act.

                 p.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Versace’s

  costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                 q.      Entry of an Order pursuant to 15 U.S.C. § 1116, 28 U.S.C. § 1651(a), The

  All Writs Act, Federal Rule of Civil Procedure 65, and the Court’s inherent authority that, upon

  Versace’s request, Defendants and any financial institutions, payment processors, banks, escrow

  services, money transmitters, e-commerce shipping partner, fulfillment center, warehouse, storage

  facility, or marketplace platforms, and their related companies and affiliates, identify and restrain

  all funds, up to and including the total amount of judgment, in all financial accounts and/or sub-

  accounts used in connection with the E-commerce Store Names or other alias seller identification

  names used by Defendants presently or in the future, as well as any other related accounts of the

  same customer(s) and any other accounts which transfer funds into the same financial institution

  account(s), and remain restrained until such funds are surrendered to Versace in partial satisfaction

  of the monetary judgment entered herein.

                 r.      Entry of an award of pre-judgment interest on the judgment amount.




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                 s.      Entry of an Order requiring Defendants, at Versace’s request, to pay the cost

  necessary to correct any erroneous impression the consuming public may have received or derived

  concerning the nature, characteristics, or qualities of Defendants’ products, including without

  limitation, the placement of corrective advertising and providing written notice to the public.

                 t.      Entry of an Order for any further relief as the Court may deem just and proper.

  DATED: June 27, 2024.                  Respectfully submitted,

                                         STEPHEN M. GAFFIGAN, P.A.

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                                      SCHEDULE “A”




   [This page is the subject of Plaintiff’s Motion to File Under Seal. As such, this page has
                       been redacted in accordance with L.R. 5.4(b)(1)]




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                               SCHEDULE “B”
                VERSACE’S FEDERALLY REGISTERED TRADEMARKS

                   Registration   Registration
    Trademark                                                Class(es) / Relevant Goods
                    Number           Date
                                                  IC 018: leather or imitations of leather, namely,
                                                  animal skins and hides, handbags, wallets, luggage,
                                                  attache cases, tote bags, briefcases, all-purpose
                                                  sport bags, travelling trunks and carry-on bags,
                                                  shoulder bags, garment bags for travelling,
                                                  keycases, umbrellas.
                                  December 16,
     VERSACE        2,121,984
                                     1997      IC 025: clothing for men, women and children,
                                                namely belts, coats, raincoats, waistcoats, blouses
                                                and pullovers, jackets, trousers, skirts, dresses,
                                                suits, shirts and chemises, T-shirts, sweaters,
                                                underwear, socks and stockings, gloves, ties,
                                                scarves, hats and caps, boots, shoes and slippers.
                                                IC 008: TABLEWARE; FORKS, KNIVES AND
                                                SPOONS; STERLING SILVER TABLE FORKS,
                                                KNIVES AND SPOONS; PARTS AND
                                                FITTINGS FOR ALL THE AFORESAID
                                                GOODS.
                                                IC 019: NON-METAL FLOOR TILES
                                                STATUETTES OF STONE, CONCRETE OR
                                                MARBLE
                                                IC 020: CHAIRS, CUPBOARDS; CUSHIONS;
                                                DESKS; DIVANS; FIGURES OF BONE,
                                                PLASTER, PLASTIC DOOR HANDLES FOR
                                                FURNITURE; NON-METAL KEY CHAINS;
                                                OFFICE FURNITURE; PILLOWS; PARTS AND
                                                FITTINGS FOR ALL THE AFORESAID
                                                GOODS.
     VERSACE        2,440,541     April 3, 2001 IC 021: HOUSEHOLD OR KITCHEN UTENSILS
                                                AND CONTAINERS; DINNERWARE;
                                                BEVERAGE WARE GLASSWARE SUGAR
                                                BOWLS; BOTTLE OPENERS; BOWLS;
                                                CANDLE HOLDERS NOT OF PRECIOUS
                                                METAL; CHINA ORNAMENTS; SOAP
                                                DISPENSERS; FIGURINES IN CHINA,
                                                CRYSTAL, PORCELAIN HOLDERS FOR
                                                FLOWERS AND PLANTS; FLOWER
                                                BASKETS; PLATES; POTS, SOAP BOXES;
                                                SOAP HOLDERS; VASES; PARTS AND
                                                FITTINGS FOR THE AFORESAID GOODS
                                                IC 024: BATH LINEN, BATH MATS, BED
                                                LINEN; BLANKETS; UNFITTED FABRIC
                                                FURNITURE COVERS



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                  Registration   Registration
    Trademark                                               Class(es) / Relevant Goods
                   Number           Date
                                                IC 018: Athletic bags, attache cases, bags for all
                                                purposes, namely,; for all sport purpose, beach
                                                bags, book bags, carry-on bags, gym bags,
                                                handbags, leather shopping bags, overnight bags,
                                                textile shopping bags, tote bags, shoulder bags,
                                                travel bags, suitcases, briefcases-type portfolios,
                                                briefcases, business card cases, calling card cases,
                                                credit card cases, purses, cosmetic cases, document
                                                cases, garment bags for travel, key cases, parasols,
                                                saddlery, shoes bags for travel, umbrellas, wallets

                                                IC 025: After ski boots, ascots, athletic footwear,
                                                athletic shoes, athletic uniforms, head bands, neck
  VERSACE JEANS                  February 6,    bands, sweat bands, wrist bands, bathing suits,
                   2,426,052
    COUTURE                         2001        bathrobes, beachwear, bed jackets, belts, berets,
                                                bermuda shorts, bikinis, blouses, blousons, body
                                                suits, bootsboxer shorts, brassieres, underwear
                                                briefs, bustiers, camisoles, clothing caps,
                                                cardigans, chemises, coats, fur coats, fur jackets,
                                                fur stoles, leather coats, over coats, rain coats, suit
                                                coats, corsets, culottes, dresses, evening gowns,
                                                night gowns, ear muffs, espadrilles, footwear,
                                                gloves, hats, head wear, infantwear, jeans, jogging
                                                suits, kilts, lingerie, clothing mantles, moccasins,
                                                neckerchiefs, night shirts, pajamas, pants,
                                                pantyhose, pareu, parkas, poloshirts, pullovers,
                                                sandals, shoes, shorts, ski wear, slippers, slips,
                                                socks, stocking




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                                              IC 009: Optical instruments, apparatus and
                                              equipments, namely eyeglasses; reading glasses,
                                              and optical glasses; sunglasses; spectacles;
                                              spectacles frames; monocles; lorgnettes.
                                              IC 014: Articles made of precious metals and
                                              alloys of precious metals with or without precious
                                              stones, namely rings, necklaces, bracelets,
                                              brooches, earrings, tie clips, cuff-links, diamonds,
                                              jewelry cases made of precious metal, watches,
                                              clocks, chronometers, watch cases, costume
                                              jewelry.
                                              IC 018: Leather and imitation of leather sold in
                                              bulk, handbags, wallets, luggage, attache cases,
                                              tote bags, briefcases, sport bags, traveling trunks,
                                              carry-on bags, shoulder bags, garment bags for
                                              traveling, key cases, umbrellas, parasols, walking
                                              sticks, whips, harnesses, saddlery; leather key
                                              chains.
                                              IC 020: Furniture; mirrors, namely looking glasses;
                                              picture frames; chairs; cupboards; cushions; desks;
                                              divans; plastic and wood doorknobs; figures of
                                              bone, ivory, plaster, plastic, wax and wood; plastic
                                              and wood furniture handles for doors, plastic key
                                              chains; magazine racks; office furniture; pillows;
                                              fitted furniture covers.
                   2,980,455   August 2, 2005 IC 021: Household or kitchen utensils and
                                              containers, namely, dinnerware; beverage-ware;
                                              glassware; sugar bowls; beer mugs; bottle openers;
                                              bowls; candle holders not of precious metal; china
                                              ornaments; cookware, namely non-electric frying
                                              pans; corkscrews; soap dispensers; figurines in
                                              China, crystal, earthenware, glass, porcelain and
                                              terracotta; holders for flowers and plants; perfume
                                              atomizers sold empty; plates; pots; soapboxes; soap
                                              holders; vases; flower baskets; porcelain and
                                              earthenware doorknobs and furniture handles for
                                              doors. FIRST USE: 19980100. FIRST USE IN
                                              COMMERCE: 19980100
                                              IC 024: Fabric for textile use, fabric of imitation
                                              animal skins, fabric for boots and shoes, bath linen;
                                              bed linen; blankets; curtains; unfitted furniture
                                              covers; handkerchiefs; kitchen towels; textile wall
                                              hangings.
                                              IC 025: Clothing for men, women and children,
                                              namely belts, coats, raincoats, waistcoats, blouses
                                              and pullovers, jackets, trousers, skirts, dresses,
                                              suits, shirts and chemises, T-shirts, sweaters,
                                              underwear, socks and stockings,gloves, ties,
                                              scarves, hats and caps, boots, shoes and slippers.
                                              IC 027: Carpets, rugs, mats and matting, linoleum



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                  Registration    Registration
    Trademark                                                 Class(es) / Relevant Goods
                   Number            Date
                                                 and other materials for covering existing floors;
                                                 non-textile wall hangings; non-textile wall
                                                 decorations.
                                                 IC 009: glasses, sunglasses, spectacles, spectacle
                                                 frames, and cases
                                                 IC 014: Articles made of precious metals and
                                                 alloys of precious metals, with or without precious
                                                 stones, namely, rings, necklaces, bracelets,
                                                 earrings, tie clips, cuff-links, watches, costume
                                                 jewellery
                                                 IC 018: Leather and imitation leather goods,
                                                 namely, handbags, wallets, luggage, attaché cases,
                                                 tote bags, briefcases, sport bags, traveling trunks,
                   3,194,501     January 2, 2007 carry-on bags, shoulder bags, garment bags for
                                                 traveling
                                                 IC 024: Fabric for textile use, fabric for boots and
                                                 shoes, bath linen, bed linen; bed blankets; unfitted
                                                 fabric furniture covers
                                                 IC 025: Clothing for men, women and children,
                                                 namely belts, coats, raincoats, waistcoats, blouses
                                                 and pullovers, jackets, trousers, skirts, dresses,
                                                 suits, shirts and chemises, t-shirts, sweaters,
                                                 underwear, socks and stockings, gloves, ties,
                                                 scarves, hats and caps, boots, shoes and slippers
                                                 IC 009: Optical instruments, apparatus and
                                                 equipment, namely, glasses, sunglasses, spectacles,
                                                 spectacle frames, accessories in the nature of
                                                 eyeglass chains, and parts, fittings, components
                                                 and cases for all the aforesaid goods
                                                 IC 014: Articles made of precious metals and
                                                 alloys of precious metals, with or without precious
                                                 stones, namely, rings, necklaces, bracelets,
                                   January 16, brooches, earrings, tie clips, cuff-links, watches,
                   3,199,127
                                      2007       watch cases, costume jewellery, parts and fittings
                                                 for all the aforesaid goods
                                                 IC 018: Leather and imitation leather goods,
                                                 namely, handbags, wallets, luggage, tote bags,
                                                 briefcases, sport bags, carry-on bags, shoulder
                                                 bags, garment bags for traveling, key cases
                                                 IC 024: Fabric for textile use, fabric of imitation
                                                 animal skins, fabric for boots and shoes, bath linen,
                                                 bed linen; bed blankets; and kitchen towels




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                  Registration   Registration
    Trademark                                                Class(es) / Relevant Goods
                   Number           Date
                                                IC 018: Leather and imitation leather goods,
                                               namely, handbags, wallets, luggage, tote bags, key
                                               cases
                                               IC 020: Furniture; mirrors, namely, looking
                                               glasses; cushions; desks; divans; office furniture;
                                               pillows; parts and fittings for the aforesaid
                                               furniture goods, namely, fitted furniture covers not
                                               of paper
                   3,453,992     June 24, 2008 IC 024: bath linen; bed linen; bed blankets
                                               IC 025: Clothing for men, women and children,
                                               namely, belts, coats, waistcoats, blouses and
                                               pullovers, jackets, trousers, skirts, dresses, shirts
                                               and chemises, T-shirts, underwear, socks and
                                               stockings, gloves, ties, scarves, hats and caps,
                                               shoes and slippers
                                               IC 026: clothing buttons
                                               IC 014: Articles made of precious metals and
                                               alloys of precious metals with or without precious
                                 September 10, stones, namely, rings, necklaces, bracelets,
     VERSACE       4,398,385
                                     2013      earrings, cufflinks, watches

                                                  IC 027: bath mats


                                  August 14,      IC 026: Buttons for clothing; Hooks and eyes;
                   5,540,330
                                    2018          Safety pins; Sewing pins; Press buttons



                                                   IC 009: Protective cases for cell phones;
                   5,937,934     June 7, 2019     Protective cases for laptop computers; Protective
                                                  cases for portable media players.




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                                                IC 009: Spectacles; sunglasses, optical glasses;
                                               goggles for sports; optical frames; monocles;
                                               theatre glasses; optical goods, namely, glasses and
                                               lenses; containers for contact lenses; eye glasses
                                               cases; pince-nez cords; magnifying glasses;
                                               correcting lenses being contact lenses; optical
                                               lenses; lenses for eyeglasses; frames for eye
                                               glasses; electronic schedulers being personal
                                               digital assistant computers; computers, handheld
                                               computers; mouse being computer peripherals;
                                               mouse mats; computer keyboards; portable
                                               telephones; downloadable ring tones for mobile
                                               phones; cell phone straps

                                             IC 014: Jewellery, precious stones; horological and
                                             chronometric instruments; rings being jewelry; cuff
                                             links; bracelets; watch bands; watch cases being
                                             parts of watches; clock cases being parts of clocks;
                                             watch chains; jewelry chains; pendants; necklaces;
                                             chronographs as watches; timepieces; stopwatches;
                                             chronoscopes; diamonds; tie pins; figurines of
                                             precious metal; gold thread jewelry; wire of
                                             precious metal for use in the making of jewelry,
                                             namely, jewelry cable; silver thread jewelry;
                                             jewellery; cloisonné jewellery; badges of precious
                   6,082,409   April 7, 2020 metal; clock hands; alloys of precious metal; ingots
                                             of precious metals; movements for clocks and
                                             watches; medals; lockets; earrings; jewellery of
                                             yellow amber; ornaments of precious metal in the
                                             nature of jewelry; ornaments of jet, shoe ornaments
                                             of precious metal being shoe jewelry; hat
                                             ornaments of precious metal being hat jewelry;
                                             pendulum clocks; atomic clocks; wristwatches;
                                             pocket watches; master clocks; electric clocks and
                                             watches; jewellery stones; key rings; clock dials;
                                             boxes of precious metal; cases for clock- and
                                             watchmaking being parts for watches and clocks;
                                             jewellery cases; cases adapted for holding watches;
                                             pins being jewelry; ornamental lapel pins; brooches
                                             being jewelry; statuettes of precious metal; paste
                                             jewellery; time instruments being chronometric
                                             instruments; alarm clocks; watch crystals

                                               IC 018: Leather and imitations of leather; animal
                                               skins, animal hides; women's handbags; pocket
                                               wallets; luggage; garment carriers being garment
                                               bags for travel; rucksacks; document cases; sports
                                               bags; trunks being luggage; travelling trunks;
                                               carry-on bags; sling bags; garment bags for travel;
                                               valises; suitcases; attaché cases; purses; travelling



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                  Registration   Registration
    Trademark                                                 Class(es) / Relevant Goods
                   Number           Date
                                                  handbags; notecases, namely, business card cases;
                                                  key cases, umbrellas; parasols; beach parasols;
                                                  walking sticks; alpenstocks; whips; harness for
                                                  horses; saddlery

                                                IC 025: Clothing, namely, shirts, pants, jeans,
                                                sweaters, skirts, dresses; footwear; headwear;
                                                clothing of imitations of leather, namely, pants,
                                                jackets; clothing of leather, namely, pants, jackets;
                                                motorists' clothing, namely, motorists' jackets,
                                                driving gloves; cyclists' clothing, namely, biking
                                                shorts, athletic shirts, cycling gloves; clothing for
                                                gymnastics, namely, leotards, leggings; gowns;
                                                bath robes; bandanas; berets; underclothing;
                                                smocks; boas; teddies being undergarments;
                                                garters; sports shoes; stockings; slippers; socks;
                                                jodhpurs; short-sleeve shirts; shirts; jackets; top
                                                hats; coats; hoods; belts for clothing; money belts;
                                                tights; collars; detachable collars; suits; beachwear;
                                                ties as clothing; ascots; headbands for clothing;
                                                pocket squares; dress pocket squares; skirts;
                                                jumper dresses; girdles; gloves; arm length gloves;
                                                rain coats; ready-to-wear clothing, namely, shirts,
                                                pants, dresses; knitwear, namely, knit shirts, knit
                                                skirts, knit dresses, knit sweaters, knit jackets;
                                                jerseys being clothing; leg warmers; leggings;
                                                liveries; sports jerseys; hosiery; swimsuits;
                                                pullovers; muffs; maniples; pelerines; mantillas;
                                                sleep masks; miniskirts; cowls being clothing;
                                                boxer shorts; bathing drawers as clothing; vests,
                                                trousers; parkas; pelisses; furs being clothing; shirt
                                                yokes; pyjamas; wristbands as clothing; ponchos;
                                                sock suspenders; brassieres; sandals; bath sandals;
                                                shoes; bath slippers; gymnastic shoes; beach shoes;
                                                shawls; sashes for wear; underpants; wimples;
                                                topcoats; outerclothing, namely, jackets, coats,
                                                vests; petticoats; slips being undergarments; shirt
                                                fronts; ankle boots; boots; fur stoles; t-shirts;
                                                combinations being clothing; uniforms; veils;
                                                visors being headwear; wooden shoes
                                                 IC 009: Protective cases for cell phones;
     VERSACE       6,088,586     April 14, 2020 Protective cases for laptop computers; Protective
                                                cases for portable media players.




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